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    8
                          IN THE UNITED STATES DISTRICT COURT
    9
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10
                                     CENTRAL CIVIL WEST
   11
   12
   13   VANGUARD MEDICAL                             5:17-cv-00965
        MANAGEMENT BILLING, INC., a
   14   California corporation; ONE-STOP             OPPOSITION TO PLAINTIFFS’
        MULTI-SPECIALTY MEDICAL                      MOTION TO FILE
   15   GROUP, INC., a California corporation;       SUPPLEMENTAL PLEADING
        ONE-STOP MULTI-SPECIALTY
   16   MEDICAL GROUP & THERAPY,                     Date:           August 28, 2018
        INC., a California corporation; NOR          Time:           8:30 a.m.
   17   CAL PAIN MANAGEMENT                          Courtroom:      9D
        MEDICAL GROUP, INC., a California            Judge:          Hon. George H. Wu
   18   corporation; EDUARDO                         Trial Date:     Not Set
        ANGUIZOLA, M.D., an individual,              Action Filed:   May 17, 2017
   19   DAVID GOODRICH, in his capacity as
        Chapter 11 Trustee; and MESA
   20   PHARMACY, INC.,
                                       Plaintiffs,
   21                v.
   22   ANDRE SCHOORL, in his official
        capacity as Acting Director of the
   23   California Department of Industrial
        Relations; GEORGE PARISOTTO, in
   24   his official capacity as the Acting
        Administrative Director of the
   25   California Division of Workers
        Compensation; and DOES 1 through 10,
   26   inclusive,
   27                                Defendants.
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    1                                    INTRODUCTION
    2        More than a year after this case was filed, Plaintiffs ask this Court for leave to
    3   file a supplemental pleading to (1) add a cause of action for alleged procedural due
    4   process violations as-applied to Plaintiff Vanguard and to Mesa Pharmacy; (2) add
    5   allegations regarding events that have occurred recently—since this Court’s entry
    6   of a preliminary injunction in December 2017; and (3) add Mesa Pharmacy as a
    7   plaintiff. The proposed supplemental pleading includes new allegations accusing
    8   Defendants and workers’ compensation judges (WCJs) of departing from the usual
    9   rules and procedures applicable to lien proceedings in workers’ compensation
   10   courts, most of which are alleged to have begun since January 2018. The motion
   11   should be denied as the proposed supplemental pleading would serve only to
   12   confuse the issues, delay the action, and cause Defendants undue prejudice.
   13        The motion is just the latest example of Plaintiffs’ continuing practice of
   14   attempting to insert new and different allegations into the case. At each round of
   15   briefing and each hearing in this action they have piled on new allegations of
   16   purported wrongdoing. This continuing onslaught of new and different allegations
   17   is prejudicial to Defendants because it creates a moving target; Defendants hardly
   18   have an opportunity to address one accusation before Plaintiffs present another,
   19   often based on WCJs’ day-to-day management of their courtrooms. Defendants are
   20   also prejudiced because they are currently subject to a preliminary injunction and
   21   will continue to be during any further delays caused by Plaintiffs’ expansion of this
   22   case to include a new cause of action based on new events asserted by a new
   23   plaintiff.
   24        This case should proceed to a final adjudication of the facts and issues that
   25   existed at the time of the original complaint and at the time preliminary relief was
   26   granted. Defendants are entitled to obtain certainty in a timely manner about
   27   whether the injunctive relief will continue permanently and, if so, in what form.
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    1                                      BACKGROUND
    2        In its order on Defendants’ motion to dismiss claims from the Second
    3   Amended Complaint, this Court stated that it would “wait to determine whether the
    4   allegations in the SAC are sufficient to state a procedural due process claim” until
    5   either the parties stipulated to waive the Federal Rule of Civil Procedure 15(d)
    6   issues Defendants have raised or Plaintiffs filed a motion for leave to file a
    7   supplemental pleading. Dkt. 100 at 24. Plaintiffs filed their motion on July 27,
    8   2018. Dkt. 103. Defendants file this opposition in response.
    9                                        ARGUMENT
   10        A supplemental pleading is used to allege relevant facts occurring after the
   11   original pleading was filed: “On motion and reasonable notice, the court may, on
   12   just terms, permit a party to serve a supplemental pleading setting out any
   13   transaction, occurrence, or event that happened after the date of the pleading to be
   14   supplemented.” Fed. R. Civ. P. 15(d). “While leave to permit supplemental
   15   pleading is ‘favored,’ . . . it cannot be used to introduce a ‘separate, distinct and
   16   new cause of action.’” Planned Parenthood of S. Ariz. v. Neely, 130 F.3d 400, 402
   17   (9th Cir. 1997). Rule 15(d) is to be liberally construed, but only “absent a showing
   18   of prejudice to defendant.” Keith v Volpe, 858 F.2d 467, 475 (9th Cir. 1988).
   19        Plaintiffs should not be granted leave to file a supplemental pleading. The
   20   new cause of action Plaintiffs seek to add would present a separate and distinct
   21   action from those alleged in the original complaint. Defendants will be prejudiced
   22   if the supplemental pleading is allowed because the new allegations would expand
   23   the case and further delay a final adjudication of the preliminary injunction
   24   currently in place. And Plaintiff’s continued attempts to brings new issues into the
   25   case on a rolling basis prejudices Defendants by delaying adjudication and by
   26   continually changing and expanding what is at issue in the case. Granting the
   27   motion for leave to file a supplemental pleading would not, in this case, lead to
   28   greater judicial efficiency; in fact, just the opposite would occur.

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    1   I.   PLAINTIFFS SHOULD NOT BE PERMITTED TO ADD A NEW CAUSE OF
             ACTION VIA SUPPLEMENTAL PLEADING
    2
             A.    The Cause of Action Plaintiffs Seek to Add Is Separate and
    3              Distinct From Those in the Original Complaint
    4        The original complaint in this matter alleged a facial due process challenge to
    5   California Labor Code section 4615, but did not include an as-applied challenge.
    6   Dkt. 1. After the Court ruled on Plaintiffs’ motion for preliminary injunction,
    7   Plaintiffs amended their Complaint to add a new cause of action to bring an as-
    8   applied due process. The new cause of action, however, is not based on conduct
    9   that occurred before the original complaint was filed in this action. It was based on
   10   various allegations regarding events that occurred since the original complaint was
   11   filed and after this Court granted in part Plaintiffs’ motion for preliminary
   12   injunction.
   13             • Allegations regarding the allegedly “new protocol” of using continuances
   14                 to delay lien proceedings (SAC ¶ 47));
   15             • Allegations relating to the alleged “new procedure” of ex parte
   16                 communications between WCJs and the legal department of the Office
   17                 of the Director (OD Legal) regarding the merits of individual cases
   18                 (SAC ¶ 48));
   19             • Allegations related to the alleged “new procedure” of requiring OD Legal
   20                 to be made a party to lien proceedings (Id.);
   21             • Allegations related to the alleged “new procedure” of posting on the
   22                 Department of Industrial Relations (DIR) website the information on
   23                 which the Anti-Fraud Unit relied in determining that a lien claimant
   24                 should be flagged as having potentially stayed liens (Id.);
   25             • Allegations related to the purported “introduction of new lien procedures
   26                 each time there is a development in the instant case and each time it
   27                 appears that a lien claimant might actually win at a hearing” (Id.); and
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    1             • The allegation that Defendants have “even since the last hearing . . .
    2                further compounded [the] due process problems.” (Id.).
    3   These are the same/similar allegations to those Plaintiffs seek to add now via
    4   supplemental pleading. 1 Motion at 2.
    5        B.    Defendants Will Be Prejudiced If the Supplemental Pleading Is
                   Allowed
    6
    7        Defendants will suffer prejudice if Plaintiffs are allowed to file a supplemental
    8   pleading for several reasons. First and foremost, this Court has already granted
    9   limited preliminary injunctive relief in this case, following eight months of briefing
   10   and hearings on Plaintiffs’ motion for preliminary injunction. Dkt. 81. Defendants
   11   are subject to that preliminary injunction during the pendency of this litigation. But
   12   “preliminary injunctions are just that—preliminary.” S. Oregon Barter Fair v.
   13   Jackson Cty., 372 F.3d 1128, 1136 (9th Cir. 2004). It is “expected that
   14   ‘presentation of evidence’ will affect the findings” made by a court in deciding a
   15   preliminary injunction motion. Sports Form, Inc. v. UPI, 686 F.2d 750, 753 (9th
   16   Cir. 1982). Defendants are entitled to a final adjudication, based on evidence
   17   relating to the bases for the original complaint and Plaintiffs’ preliminary injunction
   18   motion, on whether the preliminary injunction is merited as well as whether and in
   19   what form it will continue after the conclusion of this litigation.
   20        Allowing Plaintiffs to add allegations regarding events that have occurred not
   21   only since the filing of the original complaint but since the entry of the injunction in
   22   December 2017 will expand and complicate the case, further delaying a final
   23   adjudication on the original complaint and the appropriate permanent injunctive
   24   relief, if any. Plaintiffs have stated their intention to file another motion for
   25   preliminary injunction if their motion to supplement is granted. Dkt. 103-1 at 2. It
   26   could take a significant amount of time to litigate a second motion for preliminary
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                 Plaintiffs have not provided a specific supplemental pleading, but instead
   28   cite the Second Amended Complaint for the allegations they seek to add.
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    1   injunction, which would be premised on allegations having little to do with those at
    2   issue in the original complaint and the first preliminary injunction motion (aside
    3   from Plaintiffs’ allegation that they present due process issues). Defendants will be
    4   prejudiced by the additional time it will take to litigate a second preliminary
    5   injunction motion, as they will remain subject to the current injunction for the
    6   duration and will be prejudiced by the continuing uncertainty surrounding the
    7   application of Section 4615.
    8        Aside from the pending injunction, Defendants will be prejudiced if Plaintiffs
    9   are granted leave to file their supplemental pleading due to the ongoing expansion
   10   of the facts and events at issue in the case, which has already been pending for over
   11   a year. Every time Defendants take any action in implementing Section 4615,
   12   Plaintiffs run into this Court to accuse them of yet another due process violation.
   13   Plaintiffs’ motion argues that “[e]ven since the last hearing, the state has further
   14   compounded its due process problems, evidence of which will be presented in
   15   Mesa’s upcoming Motion for Preliminary Injunction.” Motion at 2. And Plaintiffs
   16   seek to add allegations regarding the “introduction of new lien procedures each
   17   time there is a development in the instant case.” Id. These statements demonstrate
   18   the problem with the proposed supplemental pleading: there is simply no end to the
   19   allegations Plaintiffs want to bring into this litigation. The insistence that Plaintiffs
   20   should be allowed to continually add allegations on a rolling basis as the WCJs go
   21   about their work in handling the lien cases before them is untenable and prejudices
   22   Defendants by creating a moving target that they are unable to address in an
   23   effective manner. There must be a definite end point for the issues that will be
   24   litigated in this action. Any other, more recent issues may be addressed in a
   25   separate action, one that has not already been pending for fourteen months and
   26   resulted in preliminary injunctive relief against the Defendants. This Court can and
   27   should exercise its discretion to deny the motion for leave to file a supplemental
   28   pleading. Mullen v. Surtshin, 590 F. Supp. 2d 1233, 1238 (N.D. Cal. 2008)
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    1   (denying leave to supplement because “[t]o continue adding claims or defendants
    2   will prolong the suit for an indefinite amount of time. Because the originally
    3   named defendants could be prejudiced by yet another delay and because of the
    4   length of time this case has been pending, the court exercises its discretion in
    5   denying plaintiff’s motion to add defendants or a separate claim.”)
    6         C.   Allowing the Supplemental Pleading Will Not Promote Judicial
                   Efficiency
    7
    8         Rule 15(d) “is a tool of judicial economy and convenience” that “permits the
    9   bringing of new claims in a supplemental complaint to promote the economical and
   10   speedy disposition of the controversy.” Keith, 858 F.2d. at 473; cf. Villas at
   11   Parkside Partners v. City of Farmers Branch, 577 F. Supp. 2d 880, 886 (N.D. Tex.
   12   May 28, 2008) (court may deny leave to file supplemental counterclaim that would
   13   “indefinitely and unnecessarily delay the Court’s ultimate resolution of Plaintiff’s
   14   claims”). As mentioned, this action has already been pending for more than
   15   fourteen months. It has involved several rounds of briefing on Plaintiffs’
   16   preliminary injunction motion and Defendants’ two motions to dismiss. Allowing
   17   the supplemental pleading—and, by extension, the preliminary injunction motion
   18   Plaintiffs wish to file based on the new allegations—will not promote judicial
   19   efficiency. Just the opposite—the addition of the new cause of action and added
   20   allegations will expand the scope of the litigation and further delay the resolution of
   21   the original issues presented in this action.
   22   II.   PLAINTIFFS SHOULD NOT BE PERMITTED TO ADD MESA PHARMACY AS
              A PLAINTIFF
   23
   24         In addition to the new cause of action and the new allegations regarding recent
   25   events, Plaintiffs seek to add a new Plaintiff, Mesa Pharmacy. Dkt. 103-1 at 1. In
   26   the proposed Second Amended Complaint, Mesa Pharmacy was included in the
   27   new as-applied due process cause of action as well as the facial due process
   28   challenge and contracts clause claim. According to the Second Amended
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    1   Complaint, Mesa Pharmacy is “a full-service retail pharmacy specializing in
    2   pharmaceutical compounding” which “has not been charged with any species of
    3   criminal wrongdoing” but has had its liens flagged under Section 4615. Dkt. 96 at
    4   ¶ 17.
    5           The addition of Mesa Pharmacy, to the extent it is based on the new
    6   allegations regarding recent events, should not be permitted. Not only would Mesa
    7   Pharmacy be a new plaintiff, its as-applied due process claim would be based on an
    8   entirely different set of facts than those alleged in the original complaint. And
    9   Plaintiffs have offered no reason why it is necessary to add Mesa Pharmacy to the
   10   causes of action already alleged on behalf of the other Plaintiffs (the facial
   11   procedural due process claim and the contracts claim).
   12           Plaintiffs argue in their motion that Defendants’ counsel did not object to the
   13   addition of Mesa Pharmacy during the telephonic meet and confer on Defendants’
   14   motion to dismiss the First Amended Complaint (which was combined with the
   15   meet and confer on Plaintiffs’ motion for contempt). It is unclear whether Plaintiffs
   16   believe this means that Defendants have waived the argument or that Defendants
   17   have not sufficiently complied with Local Rule 7-3. Neither is the case. First,
   18   Plaintiffs offer no support (and counsel for Defendants can find none) that an
   19   objection or argument can be waived because it was not specifically discussed
   20   during the meet and confer process. Second, the purpose of Local Rule 7-3 is for
   21   counsel to discuss a contemplated motion so that they may “reach a resolution
   22   which eliminates the necessity for a hearing.” C.D. Cal. L-R. 7-3. Plaintiffs do not
   23   deny that a meet and confer telephone call took place and that the substance of
   24   Defendants’ motion to dismiss was discussed. Surely Plaintiffs do not contend that
   25   had Defendants’ counsel specifically stated an objection to the addition of Mesa
   26   Pharmacy that the motion to dismiss could have been resolved and the need for a
   27   hearing avoided. Plaintiffs were given notice that Defendants planned to file a
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    1   motion to dismiss on various grounds. Defendants did not waive the Rule 15(d)
    2   argument or fail to comply with Rule 7-3.
    3                                    CONCLUSION
    4        For the foregoing reasons, Defendants request that Plaintiffs’ motion to amend
    5   be denied.
    6
    7   Dated: August 9, 2018                       Respectfully submitted,
    8                                               XAVIER BECERRA
                                                    Attorney General of California
    9                                               MARK R. BECKINGTON
                                                    Supervising Deputy Attorney General
   10
   11
                                                    /s/ Amie L. Medley______________
   12                                               AMIE L. MEDLEY
                                                    Deputy Attorney General
   13                                               Attorneys for Defendants Andre
                                                    Schoorl and George Parisotto
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                                   CERTIFICATE OF SERVICE

    Case Name:       Vanguard Medical                        No.    5:17-cv-00965
                     Management, et al. v. Christine
                     Baker, et al.

   I hereby certify that on August 9, 2018, I electronically filed the following documents with the
   Clerk of the Court by using the CM/ECF system:

    OPPOSITION TO PLAINTIFFS' MOTION TO FILE SUPPLEMENTAL
    PLEADING
   I certify that all participants in the case are registered CM/ECF users and that service will be
   accomplished by the CM/ECF system.
   I declare under penalty of perjury under the laws of the State of California the foregoing is true
   and correct and that this declaration was executed on August 9, 20 18, at Los Angeles, California.




                   Beth Capulong
                     Declarant



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